         Case 2:22-cv-01606-CFK Document 1 Filed 04/26/22 Page 1 of 28




                      UNITED STATES DISTRICT COURT FOR
                    THE EASTERN DISTRICT OF PENNSYLVANIA


SASHA WESTRICK                        :               CIVIL ACTION
1300 Cecil B. Moore Avenue
Philadelphia, Pennsylvania 19122       :

vs.                                    :

TEMPLE UNIVERSITY                      :   DOCKET NO.
1801 North Broad Street
Philadelphia, Pennsylvania 19122       :
       and
COMMONWEALTH OF PENNSYLVANIA           :
The Capitol
501 North 3rd Street
Harrisburg, Pennsylvania 17120         :
       and
TEMPLE BOARD OF TRUSTEES               :
1330 Polett Walk
Philadelphia, Pennsylvania 19122       :
       and
DR. JASON WINGARD                      :
1330 Polett Walk
Philadelphia, Pennsylvania 19122       :
       and
MEGAN M. PATRICK                       :
1755 North 13th Street
Philadelphia, Pennsylvania 19122       :
       and
SANDRA FOEHL                           :
1330 Polett Walk
Philadelphia, Pennsylvania 19122       :
       and
REBECCA GRZYBOWSKY                     :
1801 North Broad Street
Philadelphia, Pennsylvania 19122       :
       and
EDWARD DARRAH                          :
1776 Broad Street
Philadelphia, Pennsylvania 19122       :
       and
TEMPLE UNIVERSITY CAMPUS               :
SAFETY SERVICES
1101 West Montgomery Avenue            :



                                       1
         Case 2:22-cv-01606-CFK Document 1 Filed 04/26/22 Page 2 of 28




Philadelphia, Pennsylvania 19122
       and                                     :
EDWARD J. WOLTEMATE
1101 West Montgomery Avenue                    :
Philadelphia, Pennsylvania 19122


                               PRELIMINARY STATEMENT

       In the waning days of Summer, 2021, 17-year-old Sasha Westrick was looking forward to

beginning her undergraduate education as a Freshman Temple Owl. Rather than the experience

of self-discovery and growth she was expecting upon her matriculation at Temple University, her

time there became about antisemitism, dishonesty and retaliation. Sasha, who is an observant

Jew, was initially being harassed by her roommate, Lucy Brennan. The two were paired because

they were both on the university’s Crew team. Unfortunately, Brennan immediately took issue

with Sasha’s religious observances and began to make comments about Palestine, about how

Sasha was stupid to believe in God, and what Sasha looked like wearing her ceremonial

adornments for Shabbat. Brennan asked her for money, saying it was because all Jews were

rich. The harassment finally culminated with a SnapChat message that included the caption “I

hate Jews.” This discrimination against Sasha proved to be infectious as Brennan recruited others

to join her in harassing Sasha, including Sasha’s other roommate, Madelyn Fox.

       Naturally, Sasha took action right away and requested that Temple immediately change

her living situation. While Temple slow-walked the task of finding Sasha new housing, Sasha

also addressed the matter with her Crew team coaches. This was a vital step because, besides her

academic obligations, Crew was the most time-consuming activity on Sasha’s schedule. She

fully expected that Lucy Brennan and Madelyn Fox could not remain on the team at the same

time they were targeting and threatening one of their teammates. Sasha’s coaches saw the

situation differently. They demanded that Sasha provide proof of her allegations. They also took


                                               2
             Case 2:22-cv-01606-CFK Document 1 Filed 04/26/22 Page 3 of 28




the affirmative step of taking information provided by Sasha in confidence and then providing it

to Temple University administrators, presumably so they could prepare their response.

       Temple conducted a haphazard investigation that including secret hearings and then they

temporarily issued a 71-page report that only Sasha could read within a strictly abbreviated

window of time amidst her busy student schedule. Temple took further action by placing in

effect No Contact Orders (“NCOs”) that worked as mutual restraining orders between Sasha, Ms.

Fox and Ms. Brennan, despite their unavoidable proximity and Sasha’s status as a victim. All we

know is that Temple believes that Sasha’s complaint of September 2021 was valid and truthful.

Temple offered a written acknowledgment and listed a number of community outreach steps it

would pursue to makes sure this didn’t happen again in the future. As far as Temple was

concerned, that’s the end of the story.

       Unfortunately, that was not the end of the story for Sasha Westrick. The harassment

continued as Sasha made her way around campus. Brennan and Fox would alert campus police

whenever Sasha was present, using their NCOs as weapons of retaliation against Sasha. Temple

University police were called more than once as Brennan and Fox continued to target Sasha.

Given the absence of any punitive action taken in response to the discriminatory conduct, and

with Temple’s NCOs as their instrument, it is easy to understand why Brennan and Fox

persisted.

       Sasha has now been forced to explore numerous unforeseen options, and none of them

are good. She is attempting to fulfil her academic obligations, while also researching the

possibility of applying to a different school, or simply putting her education on hold. Sasha now

sees a psychotherapist and suffers from symptoms of PTSD related to the event. The change

between what she expected from Temple and what she ended up getting from Temple was so fast




                                                 3
            Case 2:22-cv-01606-CFK Document 1 Filed 04/26/22 Page 4 of 28




and so extreme that it has taken its toll on Sasha. Her academic record has suffered and she has

been unable to maintain her place on the Crew team. More importantly, she has been subject to

fear, intimidation, derision, and hatred, with the ongoing tacit and explicit approval of Temple,

and even carried out by the University itself.

       Under its current regime, Temple’s staff, including high-level administrators, ignored

Sasha’s pleas for help. Each representative within the departments was notified by Sasha in

accordance with Temple’s own policies including both the Student and Faculty Handbooks;

however, each of Sasha’s confidantes shrugged-off her concerns. Distressingly, the same Temple

faculty that paused before helping Sasha took no such hesitation when responding to Brennan

and Fox’s demands. Despite Temple’s policies and mission statements that strongly disparage

discrimination, each department that was notified of Brennan’s clearly discriminatory conduct

defended it to the point of exacerbating the situation. Sasha is not before this Court because she

was bullied for being Jewish, instead Sasha is before this Court because Temple University

helped bully Sasha for being Jewish.

                                             PARTIES

       1.       Plaintiff Sasha Westrick is an adult individual who, at all relevant times resided at

1300 Cecil B. Moore Avenue, Philadelphia, Pennsylvania 19122.

       2.       Defendant Commonwealth of Pennsylvania is located within the United States of

America and maintains its principal place of business at the Capitol, 501 North 3rd Street

Harrisburg, Pennsylvania 17120.

       3.       Defendant Temple University is a State-related university within Philadelphia

County and maintains a principal place of business at 1801 N. Broad Street, Philadelphia,

Pennsylvania 19122. Defendant Commonwealth of Pennsylvania recognizes Defendant Temple




                                                  4
            Case 2:22-cv-01606-CFK Document 1 Filed 04/26/22 Page 5 of 28




University as a State-related university and therefore Temple University is an instrumentality of

the Commonwealth. See 24 P.S. Education § 2510-2.

       4.       Defendant Temple University Board of Trustees is an entity organized and

existing by virtue of bylaws enacted by Defendants Temple University and Commonwealth of

Pennsylvania and maintains a principal place of business at 1330 Polett Walk, Philadelphia,

Pennsylvania 19122.

       5.       Defendant Dr. Jason Wingard is an adult individual who, at all relevant times, was

the President of Defendant Temple University and maintained a principal place of business at

1330 Polett Walk, Philadelphia, Pennsylvania 19122. Defendant Wingard is being sued both

individually and in his capacity as an officer, agent, servant, workman and/or employee of

Defendants Commonwealth of Pennsylvania, Board of Trustees and Temple University.

       6.       Defendant Megan M. Patrick is an adult individual who, at all relevant times, was

the Assistant Dean of Students of Defendant Temple University’s department of Student

Conduct and Community Standards (hereinafter “SCCS”) and maintained a principal place of

business at 1755 N. 13th Street, 318 N. Student Center, Philadelphia, Pennsylvania 19122.

Defendant Patrick is being sued both individually and in her capacity as an officer, agent,

servant, workman and/or employee of Defendants Temple University and Commonwealth of

Pennsylvania.

       7.       Defendant Sandra Foehl is an adult individual who, at all relevant times, was the

Director of Office of Diversity, Equity, and Inclusion (hereinafter “EOC”) and maintained a

principal place of business at 1330 Polett Walk, Philadelphia, Pennsylvania 19122. Defendant

Foehl is being sued both individually and in her capacity as an officer, agent, servant, workman

and/or employee of Defendants Temple University and Commonwealth of Pennsylvania.




                                                 5
            Case 2:22-cv-01606-CFK Document 1 Filed 04/26/22 Page 6 of 28




       8.       Defendant Rebecca Grzybowsky is an adult individual who, at all relevant times,

was the Women’s Rowing Head Coach and maintained a principal place of business at 1801 N.

Broad Street, Philadelphia, Pennsylvania 19122. Defendant Grzybowsky is being sued both

individually and in her capacity as an officer, agent, servant, workman and/or employee of

Defendants Temple University and Commonwealth of Pennsylvania.

       9.       Defendant Edward Darrah is an adult individual who, at all relevant times, was

the Temple Athletic Department’s Psychotherapist and maintained a principal place of business

at 1776 Broad Street, Philadelphia, Pennsylvania 19121. Defendant Edward Darrah is being sued

both individually and in his capacity as an officer, agent, workmen and/or employee of

Defendants Temple University and Commonwealth of Pennsylvania.

       10.      Defendant Temple University Campus Safety Services (hereinafter “Campus

Safety) is a public entity organized and existing by virtue of the law of the State of Pennsylvania

and maintains a principal place of business at 1101 W. Montgomery Avenue, Philadelphia,

Pennsylvania 19122.

       11.      Defendant Edward J. Woltemate is an adult individual who, at all relevant times,

was the Captain of the Investigations Unit for Defendant Temple University Campus Safety

Services and maintained a principal place of business at 1101 W. Montgomery Avenue,

Philadelphia, Pennsylvania 19122. Defendant Woltemate is being sued both individually and in

his capacity as an officer, agent, workmen and/or employee of Defendants Temple University,

Campus Safety and Commonwealth of Pennsylvania.




                                                 6
           Case 2:22-cv-01606-CFK Document 1 Filed 04/26/22 Page 7 of 28




                                            JURISDICTION

        12.      The United States District Court for the Eastern District of Pennsylvania has

jurisdiction over this action pursuant to 28 U.S.C. §§ 1331, 1343(a)(3). The Court exercises

supplemental jurisdiction over the Plaintiff’s state law claims pursuant to 28 U.S.C. § 1367.

                                                  VENUE

        13.      Pursuant to 28 U.S.C. Section 1391(b), the venue of this suit is proper in the

Eastern District of Pennsylvania, as that is the location of the Defendants and the place where the

events giving rise to this litigation occurred.

                                         OPERATIVE FACTS

        14.      At all times material hereto, Defendant Dr. Jason Wingard acted and/or failed to

act within the course and scope of his employment, under color of state law, pursuant to the

customs, policies and practices of Defendants Commonwealth of Pennsylvania, Temple

University and Board of Trustees. See Exhibit A1.

        15.      At all times material hereto, Defendant Megan M. Patrick acted and/or failed to

act within the course and scope of her employment, under color of state law, pursuant to the

customs, policies and practices of Defendants Commonwealth of Pennsylvania, Temple

University and Board of Trustees. See Exhibit B2.

        16.      At all times material hereto, Defendant Sandra Foehl acted and/or failed to act

within the course and scope of her employment, under color of state law, pursuant to the

customs, policies and practices of Defendants Commonwealth of Pennsylvania, Temple

University and Board of Trustees.



1
  Temple University Policies and Procedures Manual: “Preventing and Addressing Discrimination and Harassment,”
(Sept. 2020).
2
  Temple University Ethics and Compliance Office Charter, (Dec. 21, 2021).


                                                      7
         Case 2:22-cv-01606-CFK Document 1 Filed 04/26/22 Page 8 of 28




       17.      At all times material hereto, Defendant Rebecca Grzybowsky acted and/or failed

to act within the course and scope of her employment, under color of state law, pursuant to the

customs, policies and practices of Defendants Commonwealth of Pennsylvania, Temple

University and Board of Trustees.

       18.      At all times material hereto, Defendant Edward Darrah acted and/or failed to act

within the course and scope of his employment, under color of state law, pursuant to the

customs, policies and practices of Defendants Commonwealth of Pennsylvania, Temple

University and Board of Trustees.

       19.      At all times material hereto, Defendant Edward J. Woltemate acted and/or failed

to act within the course and scope of his employment, under color of state law, pursuant to the

customs, policies and practices of Defendants Commonwealth of Pennsylvania, Temple

University, Campus Safety and Board of Trustees.

       20.      At all times material hereto, All Defendants acted and/or failed to act by and

through their agents, servants, workmen and/or employees acting within the course and scope of

their employment, under color of state law, and pursuant to the customs, policies and practices of

Defendants Temple University, Board of Trustees, Campus Safety and/or Commonwealth of

Pennsylvania.

       21.      At all relevant times hereto, Defendants Temple University, Board of Trustees,

Campus Safety and Commonwealth of Pennsylvania were charged with the responsibility of

testing, hiring, training and/or supervising all agents, servants, workmen and/or employees,

including without limitation Defendants Dr. Jason Wingard, Megan M. Patrick, Sandra Foehl,

Rebecca Grzybowsky, Edward Darrah, and Captain Edward J. Woltemate.




                                                 8
         Case 2:22-cv-01606-CFK Document 1 Filed 04/26/22 Page 9 of 28




       22.     On or about Aug. 17, 2021, Plaintiff Sasha Westrick (hereinafter “Sasha”) arrived

on Defendant Temple University’s campus for her freshman year of undergraduate education.

       21.     Before Sept. 16, 2021, Sasha was informed by her head Crew coach, Defendant

Rebecca Grzybowsky (hereinafter “Grzybowsky”), to keep an eye on Sasha’s roommate and

teammate, Lucy Brennan (hereinafter “Brennan”), due to Brennan’s bouts of depression and

multiple suicide attempts. Defendant Grzybowsky was Sasha’s only source for Brennan’s

medical information disclosed to her.

       22.     One night, before Sept. 16, 2021, Sasha was dressed conservatively to go to

dinner when Brennan asked her where she was going. Sasha said she was going to Synagogue.

Brennan became irate and berated her for being religious and then continued to harass Sasha for

her Judaism on a regular basis. Sasha avoided confrontation and ignored Brennan’s insults

because of Defendant Grzybowsky’s earlier warnings about Brennan.

       23.     On or about Sept. 16, 2021, Brennan texted to Sasha a secretly taken photo of

Sasha containing the caption, “I hate Jews.” Sasha responded to this hateful conduct by finally

saying something, alerting Defendants Grzybowsky and the athletic department’s

psychotherapist, Edward Darrah (hereinafter “Darrah”). In light of Brennan’s hateful and

threatening conduct, Sasha requested a room change to escape Brennan’s ongoing antisemitic

harassment.

       24.     Defendant Darrah’s astonishing recommendation to Sasha’s request was to put-up

a “blanket divider” in the room between Sasha and Brennan instead of transferring Sasha to a

different dormitory. Around the time that Sasha told Defendants Darrah and Grzybowsky about

what happened, Sasha’s other roommate, Madelyn Fox, quickly took Brennan’s side. Aside from

telling Sasha to create a wall of blankets in her room, Defendant Darrah’s other attempt to help




                                                9
         Case 2:22-cv-01606-CFK Document 1 Filed 04/26/22 Page 10 of 28




resolve Sasha’s ungodly predicament was to induce Sasha to sign a Record Release allowing him

to share Sasha’s confidential information with Defendant Grzybowsky.

       25.     On or about Sept. 30, 2021, Sasha’s mother, Amy Westrick (hereinafter “Amy”),

visited Sasha on campus for the first time and quickly noticed that Sasha was suffering from

severe emotional distress. Sasha was in fear of retaliation and reluctant to make any further

reports because her prior pleas fell on deaf ears.

       26.     On or about Oct. 3, 2021, Amy, as a reasonably concerned mother, emailed

Defendant Grzybowsky directly:

                       Hi Rebecca,

                              I really have hesitated in writing this since I know Sasha
       will be very upset with me but I can no longer bite my tongue.

                               ...

                               As I was leaving Sasha she said she didn’t want to go back
       to her apartment and I told her that her apartment should be her sanctuary not
       someplace where she dreads returning. I really feel like this is taking too great of
       a toll on her and she’s trying to put on a good face but it’s eating her up!! Please
       help.

                       Thank you,
                       -Amy Westrick.

Oct. 3, 2021 Email between Amy and Defendant Grzybowsky.

       27.     On or about Oct. 4, 2021, Defendant Grzybowsky attended a meeting with Sasha

that resulted in no action taken to remedy Sasha’s situation.

       28.     On or about Oct. 9, 2021 (now at least Twenty-Three days after the “I hate Jews”

post), Amy contacted the Residential Director (Charlie Lafe) and demanded that Sasha finally be

transferred to a different room. Only after this request by Sasha’s mother did Defendant Temple

University’s faculty respond to the situation and place Sasha in a temporary emergency dorm




                                                 10
             Case 2:22-cv-01606-CFK Document 1 Filed 04/26/22 Page 11 of 28




room. Tragically, Sasha was soon placed in a permanent dorm room that was not only still in the

same building, but on the same floor as Brennan and Fox.3

           29.      On or about Oct. 9, 2021, the Director of EOC, Defendant Sandra Foehl

(hereinafter “Foehl”), was, for the first time, alerted about the pattern of antisemitic behavior.

This notification came not from the various Temple staff from whom Sasha had sought help, but

from Sasha’s mother Amy.

           30.      On or about Oct. 11, 2021, Defendant Foehl was contacted by Amy to confirm

that Foehl received the Oct. 9 email regarding the hate text sent to Sasha. Defendant Foehl stated

that the incident would be investigated. This is the first time Sasha was informed by the EOC

that a clearly bias incident would be investigated. This was no more than Twenty-Five days after

the “I hate Jews” post.

           31.      On or about Oct. 20, 2021, at the request of Brennan, SCCS’s Assistant Dean of

Students, Defendant Megan M. Patrick (hereinafter “Patrick”), placed in effect a No Contact

Order (hereinafter “NCO”) that mutually prohibited intentional contact between Sasha, Fox and

Brennan. The NCO was filed despite inevitable and unavoidable violations since these

individuals were all on the same Crew Team and living on the same floor of a shared dormitory.

Initially, Defendant Patrick did not even notify Sasha of the NCO, and never advised her of her

right to challenge the NCO for good cause shown. See Exhibits C and D4.

           32.      Sasha became aware of the NCO, on or about Oct. 21, 2021, when she returned to

her old dorm to get her remaining possessions. Rather than allowing Sasha to recover her own

personal property, Brennan and Fox retaliated by alerting Defendant Campus Safety that Sasha

was in their presence.


3
    Temple University undergraduate housing consists of at least eight (8) separate residence halls.
4
    Oct. 20, 2021, “No Contact Orders.”


                                                            11
             Case 2:22-cv-01606-CFK Document 1 Filed 04/26/22 Page 12 of 28




           33.      On or about Oct. 21, 2021, in response to Fox and Brennan’s retaliation, and

knowing that she could expect Defendant Temple University to only make the situation worse,

Sasha went directly to Campus Safety, herself. As a result of Sasha’s police report, Brennan was

found by Campus Safety to have likely committed a hate crime. Exhibit E5. All known records of

Defendant Campus Safety’s findings were forwarded to the office of Student Conduct and

Community Standards (hereinafter “SCCS”).

           34.      On or about Dec. 1, 2021, Defendant Grzybowsky organized the Crew team into

groups that would practice together. Inexplicably and in direct conflict with the Defendant

Temple’s NCO, Defendant Grzybowsky placed Sasha and Fox in the same group. As a result

and in an effort to fulfill her own obligations under Defendant Temple’s policies, Sasha alerted

Defendant Megan Patrick about the situation.

           35.      On or about Dec. 17, 2021, Sasha was notified by SCCS about Brennan’s student

conduct hearing to determine a potential disciplinary action against Brennan for the antisemitic

harassment. As the complainant, Sasha’s presence was required at the hearing. She was also

informed that no one else was permitted to attend on her behalf or to provide support. This is in

stark contrast to the fact that Ms. Brennan was permitted to bring several witnesses, including

but not limited to Ms. Fox, Ms. Brennan’s mother and Ms. Brennan’s boyfriend.

           36.      On or about Dec. 20, 2021, Sasha was notified that the SCCS determined Brennan

was guilty of sending the hateful text message but nothing more. Sasha was also informed that

mandatory attendance in a pro-diversity program was the extent of the interim measures taken

against Brennan.

           37.      Since the SCCS hearing, Sasha has been forced to quit the rowing team.



5
    Temple Police Dept. Incident Report (Oct. 21, 2021).


                                                           12
             Case 2:22-cv-01606-CFK Document 1 Filed 04/26/22 Page 13 of 28




           38.      On or about Jan. 3, 2022, an anonymous member of the rowing team posted a

summary of what happened to Sasha on Instagram. The post received over 1,000 shares/views

before being taken down the next day for unknown reasons. See Exhibit F6.

           39.      On or about Jan. 5, 2022, Defendant Grzybowsky held a team meeting (absent

Sasha) stating that the above-mentioned Instagram post was “90% false,” despite Brennan being

found guilty of what the post reflected.

           40.      On or about Jan. 24, 2022, Fox was notified that she was being investigated for

her role in discriminating against Sasha for being Jewish. In response, Fox went to Campus

Safety where she filed a formal complaint alleging that Sasha was harassing Fox by purposefully

violating the NCO and voluntarily placing herself in Fox and Brennan’s presence within

common areas of the University’s campus including groups on the Crew team. Exhibit G7.

           41.      On or about Jan. 28, 2022, Brennan and Fox again notified Campus Safety that

Sasha was voluntarily in their presence and Campus Safety responded by dispatching four

officers who then surrounded and menaced Sasha in the hallway of her dormitory in front of

other friends and students.

           42.      On or about Feb. 1, 2022, Sasha’s mother spoke with Defendant Patrick regarding

the January 28 Campus Safety incident described in the previous paragraph. Defendant Patrick

stated that the investigation against Fox was coincidentally completed on the exact same day that

Amy Westrick was calling. Defendant Patrick would not comment on whether she thought it was

a good idea to place mutual NCOs in effect for parties that appear to be using said NCOs to

retaliate against Sasha.




6
    Jan. 3, 2022, Since Deleted Instagram Post.
7
    Temple Police Dept. Incident Report (Jan. 24, 2022).


                                                           13
         Case 2:22-cv-01606-CFK Document 1 Filed 04/26/22 Page 14 of 28




       43.      On or about Feb. 4, 2022, Amy Westrick contacted the Captain of Campus Safety,

Defendant Edward J. Woltemate (hereinafter “Woltemate”), to inquire about why officers were

dispatched to essentially arrest Sasha. Defendant Woltemate brushed-off the incident as simply

an ongoing problem between roommates, despite Campus Safety’s previous record of the hate

crimes that were committed against Sasha.



                                           COUNT I
                                  CIVIL RIGHTS: TITLE VI
                             (Federally Funded 42 U.S.C. § 2000d)
                          Plaintiff Sasha Westrick vs. All Defendants

       44.      All previous paragraphs are hereby incorporated by reference as though fully set

forth herein.

       45.      The Defendants’ conduct as set forth above, acting under color of state law,

encouraged and/or resulted in religious discrimination against Plaintiff Sasha, and was

committed in conscious and deliberate disregard of the substantial and/or unjustifiable risk of

causing harm to Sasha and members of her protected class.

       46.      At all relevant times, Defendants knew or should have known of the

discrimination resulting from violating established policies regarding No Contact Orders

including but not limited to:

                a.     Placing in effect NCOs without notifying effected parties of their right to

challenge for good cause shown;

                b.     Placing in effect NCOs without investigating the reasons why the NCOs

were sought;

                c.     Placing in effect NCOs without investigating the culmination of incidents

and/or conduct that resulted in said NCOs;



                                                14
         Case 2:22-cv-01606-CFK Document 1 Filed 04/26/22 Page 15 of 28




               d.     Allowing NCOs to be used as a retaliatory measure against victims of

religious discrimination;

               e.     Ignoring the retaliatory nature and harm caused by placing in effect NCOs

supported by facts depicting bias incidents;

               f.     Affirmatively ignoring Sasha’s request for a room transfer despite the

reasonableness of such a request in light of the discriminatory harassment; and

               g.     Affirmatively not granting Sasha’s room transfer request despite

emergency dormitory availability.

       47.     Defendant Temple University’s administrators, supervisors, and/or faculty are

employed within the university system as an instrumentality of the state receiving the benefits of

federally-funded grants and programs.

       48.     As a direct and proximate result of the above-described failures, Plaintiff Sasha

Westrick was deprived of her rights secured by the Fourteenth Amendment to the Constitution of

the United States of America without any compelling state interest.

       49.     As a direct and proximate result of the violations of her civil rights, Sasha was

caused to suffer harm including but not limited to discrimination, humiliation and

embarrassment, severe mental anguish and loss of scholarship opportunities.

       WHEREFORE, Plaintiff demands judgment against each Defendant as to each count,

individually, jointly, and severally, in a sum in excess of One Hundred and Fifty Thousand

Dollars ($150,000), plus punitive damages, interest, costs, attorney’s fees, and such other and

future relief as the Court may deem just and proper.




                                                15
         Case 2:22-cv-01606-CFK Document 1 Filed 04/26/22 Page 16 of 28




                                          COUNT II
                             CIVIL RIGHTS: MONELL CLAIM
                     (4th and 14th Amendment, Substantive Due Process)
                          Plaintiff Sasha Westrick vs. All Defendants

       50.      All previous paragraphs are hereby incorporated by reference as though fully set

forth herein.

       51.      The Defendants’ conduct as set forth above, acting under color of state law, was

recklessly, willfully, and deliberately indifferent to the health, safety and well-being of Plaintiff

Sasha Westrick, and was committed in conscious and deliberate disregard of the substantial

and/or unjustifiable risk of causing harm to Sasha and/or members of her protected class.

       52.      At all relevant times, All Defendants acted through high-level, responsible policy

makers including without limitation Defendants Grzybowsky, Wingard, Patrick, Foehl, Darrah,

Woltemate and/or other individuals who promulgated policies and procedures and/or acquiesced

in a longstanding custom or practice whereby such individuals knew of the danger posed by the

failures set forth in the following paragraph and deliberately chose not to pursue a different

course of action and/or acquiesced in a longstanding practice of such failures.

       53.      The Defendants’ conduct, as set forth above, pursuant to express policies and/or

longstanding customs or practices about which policymakers with authority were explicitly

aware, or were of such a longstanding and widespread nature that such individuals should have

been aware, violated Sasha’s rights pursuant to the Fourteenth Amendment to the United States

Constitution, which is remediable through 42 U.S.C. § 1983, by, inter alia:

                a.     Failing to properly screen, hire, employ and/or retain faculty members

with sufficient skill and/or fitness for duty to serve as athletic and administrative staff and/or

supervisors working in the field of state-sponsored education;




                                                  16
         Case 2:22-cv-01606-CFK Document 1 Filed 04/26/22 Page 17 of 28




               b.      Failing to properly train and/or supervise supervisors, administrators

and/or other faculty to properly and safely serve as athletic and administrative staff and/or

supervisors in the field of state-sponsored education, including without limitation:

                       i.      Failing to train administrators and/or faculty to review and/or

investigate any and all social media of students accused of discriminating against constitutionally

protected conduct;

                       ii.     Failing to adequately and properly supervise administrators and/or

faculty to ensure that they investigate any and all social media of students accused of

discriminating against constitutionally protected conduct;

                       iii.    Failing to adequately and properly supervise administrators and/or

faculty to ensure that they properly and adequately report information within their department

and to other departments within the university system regarding the student and/or faculty

records of individuals accused of and/or aware of discrimination against constitutionally

protected conduct;

                       iv.     Failing to adequately and properly supervise administrators and/or

faculty regarding the appropriate circumstances under which a student conduct investigation may

be terminated and when one should be continued in the event that constitutionally protected

conduct is targeted; and

                       v.      Failing to adequately and properly supervise administrators and/or

faculty regarding the appropriate interim measure(s) to apply in circumstances regarding

violations of constitutionally protected individual rights.




                                                 17
         Case 2:22-cv-01606-CFK Document 1 Filed 04/26/22 Page 18 of 28




               c.      Failing to properly implement the appropriate policies, practices and/or

procedures to address discrimination on Defendant Temple University’s campus, including

without limitation:

                       i.      The need to adequately and properly investigate any and all social

media as well as student records of those students accused of discriminating against

constitutionally protected conduct;

                       ii.     The appropriate circumstances under which a student conduct

investigation may be terminated and when one should be continued in the event that

constitutionally protected conduct is targeted; and

                       iii.    The appropriate interim measure(s) to apply in circumstances

regarding violations of constitutionally protected individual rights.

               d.      Failing to properly train supervisors, administrators and other faculty to

properly and adequately oversee assigned supervisors, administrators and faculty members

investigating, evaluating and/or documenting campus discrimination to ensure, among other

things, that complete and accurate information is placed in the investigatory and/or accused

student’s record, that investigations are not terminated prematurely and that information is

shared with the appropriate department(s) to permit, inter alia, the proper filing of NCOs;

               e.      Failing to take appropriate disciplinary action against administrators and

other faculty retained to investigate campus discrimination; and

               g.      Failing to have proper inter- and intra-department communication and

policies to allow for the proper transmission, review and reaction to information about open and

closed student conduct investigations.




                                                 18
         Case 2:22-cv-01606-CFK Document 1 Filed 04/26/22 Page 19 of 28




       54.       As a direct and proximate result of the above-described failures, Plaintiff Sasha

Westrick was deprived of her rights secured by the Fourth and Fourteenth Amendments to the

Constitution of the United States of America without any compelling state interest.

       55.       As a direct and proximate result of the violations of her civil rights, Sasha was

caused to suffer economic and non-economic damages including but not limited to

discrimination, humiliation and embarrassment, severe mental anguish and loss of scholarship

opportunities.

       WHEREFORE, Plaintiff demands judgment against each Defendant as to each count,

individually, jointly, and severally, in a sum in excess of One Hundred and Fifty Thousand

Dollars ($150,000), plus punitive damages, interest, costs, attorney’s fees, and such other and

future relief as the Court may deem just and proper.



                                           COUNT III
                            CIVIL RIGHTS: FOURTH AMENDMENT
                 Plaintiff vs. Defendants Grzybowsky, Darrah, Foehl and Patrick

       56.       All previous paragraphs are hereby incorporated by reference as though fully set

forth herein.

       57.       The Defendants’ conduct as set forth above, acting under color of state law, was

recklessly, willfully, and deliberately indifferent to the health, safety and well-being of Plaintiff

Sasha Westrick, and was committed in conscious and deliberate disregard of the substantial

and/or unjustifiable risk of causing harm to Sasha (a member of a protected class) for engaging

in constitutionally protected conduct.

       58.       As a direct result of the Defendants Grzybowsky, Darrah, Foehl and Patrick’s

above-described unlawful and/or wrongful conduct, committed under the color of state law,




                                                  19
          Case 2:22-cv-01606-CFK Document 1 Filed 04/26/22 Page 20 of 28




Sasha suffered harm in violation of her rights under the laws of the Constitution of the United

States, in particular, the Fourth and Fourteenth Amendments thereof, and 42 U.S.C. § 1983.

         59.   Sasha was a victim of unreasonable and/or unlawful seizure and/or detainment at

the dormitory shared with Brennan and Fox, which necessarily involved close contact between

Brennan, Fox and Sasha, including while other students, faculty, and/or supervisors were not

present. The conduct of Defendants Grzybowsky, Darrah, Foehl and Patrick prohibited Sasha

from immediately transferring to an emergency dorm room and discouraged Sasha from asking

twice.

         60.   Defendants Grzybowsky, Darrah, Foehl and Patrick’s conduct unfairly hindered

Sasha’s liberty by placing in effect a mutually applicable NCO in light of Sasha being targeted

for her religious observance. Administering an NCO that negatively impacted Sasha, that would

be violated inevitably and that was used as an instrument to retaliate against a victim of criminal

hate was unreasonable, grossly excessive and deprived Sasha of her rights under the laws of the

Constitution of the United States, in particular, the Fourth and Fourteenth Amendments thereof,

and 42 U.S.C. § 1983.

         61.   Defendants Grzybowsky, Darrah, Foehl and Patrick subjected Sasha to

depravations of her rights herein unreasonably and with reckless disregard for whether Sasha’s

constitutionally protected rights would be violated by Defendants actions and/or inaction which

amounted to conduct shocking the conscience.

         62.   As a direct and proximate result of the acts and omissions of Defendants

Grzybowsky, Darrah, Foehl and Patrick, Sasha suffered severe emotional anguish, was forced to

fear for her safety, and was wrongfully deprived of her physical liberty.




                                                20
         Case 2:22-cv-01606-CFK Document 1 Filed 04/26/22 Page 21 of 28




        63.     As a direct and proximate result of Defendants Grzybowsky, Darrah, Foehl and

Patrick’s conduct, Plaintiff Sasha suffered substantial harm as set forth above, plus the cost of

suit.

        WHEREFORE, Plaintiff demands judgment against each Defendant as to each count,

individually, jointly, and severally, in a sum in excess of One Hundred and Fifty Thousand

Dollars ($150,000), plus punitive damages, interest, costs, attorney’s fees, and such other and

future relief as the Court may deem just and proper.



                                           COUNT IV
                          CIVIL RIGHTS: STATE CREATED DANGER
                           (14th Amendment, Substantive Due Process)
                                   Plaintiff vs. All Defendants

        64.     All previous paragraphs are hereby incorporated by reference as through fully set

forth herein.

        65.     At all relevant times, Defendants Grzybowsky, Darrah, Foehl and Patrick knew

and/or should have known that Brennan and Fox were discriminating against Sasha for being

Jewish and thus presented an extreme risk of emotional harm and danger to Sasha.

        66.     At all relevant times, Defendants Grzybowsky, Darrah, Foehl and Patrick knew

and/or should have known that Sasha would be at extreme risk for emotional harm and danger if

Defendants actively and affirmatively provided incomplete and/or inaccurate information and/or

recommendations regarding the discriminatory student conduct that targeted Sasha and members

of her protected class.

        67.     The harm caused by Brennan and Fox’s conduct, namely the damages and mental

anguish as described above, was a foreseeable and fairly direct result of All Defendants actions

and/or inaction.



                                                 21
         Case 2:22-cv-01606-CFK Document 1 Filed 04/26/22 Page 22 of 28




       68.     At all relevant times, All Defendants were state actors under the color of state

law.

       69.     At all relevant times, Sasha’s Judaism and known status as the victim of

discriminatory student conduct created a special relationship that existed between Sasha and All

Defendants—All Defendants knew or should have known that Sasha was a member of a discreet

class of persons subjected to the actual and potential harm brought about by All Defendants, as

opposed to being a member of the public in general.

       70.     Defendants Temple University, Board of Trustees, and Campus Safety, by and

through but not limited to its administrators, faculty and/or individual staff members, acting

under color of state law, affirmatively exercised its authority in a manner that created a danger to

Sasha, and/or used its authority in a way that rendered Sasha more vulnerable to danger than had

Defendants Temple University, Board of Trustees and/or Campus Safety not acted at all. Such

conduct included:

               a.      Placing in effect a No Contact Order mutually against Sasha, despite her

being targeted for constitutionally protected conduct;

               b.      Placing in effect a No Contact Order mutually against Sasha, despite the

risk that said No Contact Order would be used as an instrument for retaliation by the accused;

               c.      Affirmatively recommending that no initial transfer be granted for

placement in an emergency dorm room, despite the record of ongoing discriminatory attacks and

risk of additional discriminatory conduct;

               d.      Concealing the discriminatory nature of the student conduct at issue from

appropriate departments;




                                                 22
         Case 2:22-cv-01606-CFK Document 1 Filed 04/26/22 Page 23 of 28




                 e.     Effectively placing Sasha in the presence of Brennan and Fox via transfer

to the same floor of a shared dormitory, despite notice of ongoing discriminatory conduct;

                 f.     Prematurely placing in effect a No Contact Order mutually against the

victim of a hate crime; and

                 h.     Providing incomplete and/or inaccurate information to other appropriate

departments meant to remedy and/or address discriminatory incidents.

       71.       The aforementioned affirmative conduct created and/or increased Sasha’s

vulnerability to the dangers posed by Brennan and Fox.

       72.       Sasha was a member of a limited and specifically definable group and Sasha was

targeted due to her membership within said group.

       73.       All Defendants’ conduct placed Sasha at substantial risk of serious, immediate

and proximate harm.

       74.       The risk to Sasha because of her religious faith was obvious and known.

       75.       The conduct of All Defendants when viewed in total was conscience shocking.

       76.       The aforementioned affirmative conduct of All Defendants violated Plaintiff’s

rights under the Fourteenth Amendment to the United States Constitution, remediable through 42

U.S.C. § 1983.

       77.       The aforementioned affirmative conduct of All Defendants deprived Plaintiff

Sasha Westrick of her fundamental rights, as secured by the 14th Amendment of the constitution

of the United States of America without any compelling state interest.

       78.       As a direct and proximate result of the violations of her civil rights, Plaintiff

Sasha Westrick was caused to suffer economic and non-economic damages including but not




                                                   23
         Case 2:22-cv-01606-CFK Document 1 Filed 04/26/22 Page 24 of 28




limited to discrimination, humiliation and embarrassment, severe mental anguish and loss of

scholarship opportunities.

       WHEREFORE, Plaintiff demands judgment against each Defendant as to each count,

individually, jointly, and severally, in a sum in excess of One Hundred and Fifty Thousand

Dollars ($150,000), plus punitive damages, interest, costs, attorney’s fees, and such other and

future relief as the Court may deem just and proper.



                                       COUNT V
                      CIVIL RIGHTS – SUPERVISORY LIABILITY
                    (4th and 14th Amendment, Substantive Due Process)
  Plaintiff vs. Defendants Temple University, Dr. Jason Wingard, Board of Trustees and
                                     Campus Safety

       79.      All previous paragraphs are hereby incorporated by reference as though fully set

forth herein.

       80.      At all relevant times, Defendants Temple University, Dr. Jason Wingard, Board

of Trustees and Campus Safety were acting under color of state law.

       81.      At all relevant times, Defendants Temple University, Dr. Jason Wingard, Board

of Trustees, and/or Campus Safety exercised supervisory authority over Defendants Patrick,

Foehl, Darrah, Grzybowsky, Woltemate and others.

       82.      At all relevant times, Defendants Temple University, Dr. Jason Wingard, Board

of Trustees and/or Campus Safety directed and/or acquiesced to the conduct of those over whom

they exercised supervisory authority, conduct that included, without limitation, the following:

                a.     Providing assessments and/or reports indicating that the shared dormitory

was a safe place for Sasha, despite the unrestricted, inevitable presence of Brennan and Fox;




                                                24
         Case 2:22-cv-01606-CFK Document 1 Filed 04/26/22 Page 25 of 28




                b.     Placing inaccurate and/or incomplete information in student conduct

reports and/or records;

                c.     Affirmatively placing in effect No Contact Orders mutually against the

victim of a hate crime;

                d.     Concealing the discriminatory nature of the student conduct being

investigated;

                e.     Effectively placing Sasha in the presence of Brennan, despite finding

Brennan guilty of discriminatory conduct at a SCCS disciplinary hearing;

                f.     Prematurely placing in effect No Contact Orders mutually against the

victim of a hate crime; and

                g.     Communicating incomplete and/or inaccurate information to other

Defendants within the appropriate university departments.

       82.      At all relevant times, Defendants Temple University, Dr. Jason Wingard, Board

of Trustees and/or Campus Safety were aware of their subordinates’ taking the above-described

action and directed them to take such conduct and/or acquiesced to their conduct.

       83.      At all relevant times, Defendants Temple University, Dr. Jason Wingard, Board

of Trustees and Campus Safety knew or should have known that their directions and/or

acquiescence to the conduct of those over whom they exercised supervisory control would have

the effect of depriving Sasha of her rights under the laws of the Constitution of the United States,

in particular, the Fourth and Fourteenth Amendments thereof, and 42 U.S.C. § 1983.

       84.      As a direct and proximate result of the violations of her civil rights, Sasha was

caused to suffer emotional and economic harm as set forth above.




                                                 25
         Case 2:22-cv-01606-CFK Document 1 Filed 04/26/22 Page 26 of 28




       WHEREFORE, Plaintiff demands judgment against each Defendant as to each count,

individually, jointly, and severally, in a sum in excess of One Hundred and Fifty Thousand

Dollars ($150,000), plus punitive damages, interest, costs, attorney’s fees, and such other and

future relief as the Court may deem just and proper.



                                           COUNT VI
                                         NEGLIGENCE
                Plaintiff vs. Defendants Grzybowsky, Darrah, Foehl and Patrick

       85.      All previous paragraphs are hereby incorporated by reference as though fully set

forth herein.

       86.      At all relevant times, the negligence and recklessness of Defendants Grzybowsky,

Darrah, Foehl and Patrick consisted, inter alia, of the following:

                a.     Failing to recognize and understand the retaliatory danger posed by

effecting and/or recommending to file No Contact Orders against Sasha;

                b.     Failing to properly implement the appropriate policies, practices and/or

procedures, including but not limited to policies, practices and/or procedures which relate to the

investigation, evaluation and/or documentation of discriminatory student conduct;

                c.     Failing to properly train supervisors, administrators and/or other faculty to

properly and adequately oversee the activities of staff investigating, evaluating and/or

documenting discriminatory student conduct; and

                d.     Failing to have and enforce clear, concise and/or appropriate policies

and/or directives to address the handling of alleged discriminatory student conduct.

       WHEREFORE, Plaintiff demands judgment against Defendant as to each count,

individually, jointly and severally, in a sum in excess of One Hundred and Fifty Thousand




                                                26
          Case 2:22-cv-01606-CFK Document 1 Filed 04/26/22 Page 27 of 28




Dollars ($150,000), plus punitive damages, interest, costs, attorney’s fees, and such other and

future relief as the Court may deem just and proper.

                                         JURY DEMAND

         Plaintiff demands a trial by jury as to each Defendant and as to each count.




                                                LAW OFFICES OF ROBERT B. MOZENTER


Dated:          4/26/2022                                           /s/Robert B. Mozenter
                                                                  By: Robert B. Mozenter, Esquire
                                                                   200 South Broad St., Suite 400
                                                                          Philadelphia, PA 19102
                                                                                  (215) 985-4280
                                                                         r.mozenter@verizon.net
                                                                             Attorney for Plaintiff




                                                 27
         Case 2:22-cv-01606-CFK Document 1 Filed 04/26/22 Page 28 of 28




                       UNITED STATES DISTRICT COURT FOR
                     THE EASTERN DISTRICT OF PENNSYLVANIA


LAW OFFICES OF ROBERT B. MOZENTER
Robert B. Mozenter, Esq.                                     ATTORNEY FOR PLAINTIFF
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Philadelphia, PA 19102
(215) 985-4280
r.mozenter@verizon.net


                                 CERTIFICATE OF SERVICE

       I, ROBERT B. MOZENTER, ESQUIRE, herby certify that a true and correct copy of
the Plaintiff’s Complaint was served by ECF on counsel to all represented parties and served by
first class United States mail, postage prepaid on the following parties:


                                       Temple University,
                                Commonwealth of Pennsylvania,
                                   Temple Board of Trustees,
                                       Dr. Jason Wingard,
                                       Megan M. Patrick,
                                          Sandra Foehl,
                                         Edward Darrah,
                                      Rebecca Grzybowsky,
                            Temple University Campus Safety, and
                                       Edward Woltemate


                                                                 /s/Robert B. Mozenter
                                                           ROBERT B. MOZENTER, ESQUIRE




DATED:         4/26/2022




                                                 28
